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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

SANJAY GUPTA, an individual,                     )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )           Case No. 1:23-cv-00201
                                                 )
TERESA K. WOODRUFF, et al.,                      )           Hon. Paul L. Maloney
current and former employees of Michigan         )
State University, sued in their personal and     )
official capacities, jointly and severally,      )
                                                 )
               Defendants.                       )
                                   JOINT STATUS REPORT

        On May 24, 2023, the following counsel of record for all parties participated in a Rule
26(f) conference. The following counsel will also attend a Rule 16 conference when scheduled
by the Court:

       Plaintiff Sanjay Gupta:                 Nancy Temple and William Bruce, Katten &
                                               Temple, LLP

       Defendant Teresa Woodruff:              Paul Krieger and Jonathan Bolz, Krieger
                                               Kim & Lewin LLP

       Defendants Nicole Schmidtke             Steven Stapleton and Maria Dwyer, Clark
       and Allison Towe                        Hill PLC

       Defendant Ann Austin                    Marisa Tara Darden, Squire Patton Boggs
                                               LLP

       Defendant Samuel Stanley                Charyn K. Hain, Varnum LLP

       Defendant Emily Gerkin                  Uriel Abt, Law Office of Uri Abt PLLC
       Guerrant

       Defendant Thomas Jeitschko              Adam Hollingsworth, Jones Day

       1.   Jurisdiction:

        (a)      Plaintiff’s Position: The basis for the Court's jurisdiction is 28 U.S.C. § 1331.
Plaintiff states claims for violation of constitutional due process rights pursuant to Section 1983.

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State law claims are within this Court’s supplemental jurisdiction. Defendants object, claiming that
the Complaint fails to state a claim. Pursuant to Fed. R. Civ. P. 15(a)(1) and this Court’s Order of
May 23, 2023, Plaintiff intends to file an Amended Complaint on or before June 12, 2023, which
Plaintiff believes will moot any objection by Defendants as to jurisdiction.

        (b)      Defendants’ Position: Defendants do not dispute that Plaintiff has invoked the
Court’s federal question jurisdiction under 28 U.S.C. § 1331 by alleging federal due process
violations under the U.S. Constitution and 42 U.S.C. § 1983, and has invoked supplemental
jurisdiction for any remaining state law claims. However, Defendants state that they do not waive
their Eleventh Amendment immunity (or any other immunity) or defenses, which they have
expressly invoked in the May 22, 2023 Omnibus Motion to Dismiss Plaintiff’s complaint [ECF
Nos. 15 & 16]. Defendants also state that the Plaintiff’s claims separately fail for lack of subject
matter jurisdiction, as set forth in the Omnibus Motion to Dismiss. Finally, Defendants maintain
further that even if Plaintiff were to overcome the immunity defenses raised, the Complaint fails
as a matter of law to state viable legal claims upon which relief may be granted, as stated more
fully in the Omnibus Motion to Dismiss. Defendants do not believe any amendment to the
Complaint will materially change the application of Defendants’ immunity defenses or the fact
that Plaintiff cannot, under the circumstances, state a viable legal claim upon which relief may be
granted.

       2.    Jury or Non-Jury:

       (a)   Plaintiff’s position: This case is to be tried before a Jury.

       (b)   Defendants’ position: Defendants reserve the right to request a Jury or non-Jury trial.

        3. Judicial Availability: The parties jointly do not agree to have a United States
Magistrate Judge conduct any and all further proceedings in the case, including trial, and to order
the entry of final Judgment.

       4.    Statement of the Case:

        (a) Plaintiff’s Position: This case involves: federal constitutional due process and equal
protection violation claims by the former Dean of the Eli Broad College of Business of Michigan
State University, along with state-law breach of contract and defamation claims against Michigan
State University (“MSU”) officers and employees in their official and personal capacities, seeking
equitable relief and damages for the termination of Plaintiff’s position as Dean and removal of his
endowed professorship chair.

             The factual and legal issues include the purported reasons for the termination of the
positions and the factual bases therefor; MSU policies for discipline of deans and investigations
of alleged violations of MSU reporting policies and whether Defendants complied with those
policies; how other MSU personnel were disciplined and treated compared to Plaintiff; whether
MSU officials violated well established due process and equal protection rights of the tenured
dean; and whether Defendants’ publications of statements concerning Plaintiff were false and
defamatory.


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             On March 31, 2023, after the Complaint was filed, the MSU Board of Trustees
published a 100-page Final Report for the Michigan State Board of Trustees Regarding a Review
of Title IX Policies and Procedures, Including the Departure of Sanjay Gupta as Dean of the Eli
Broad College of Business, and Policy Recommendations Arising From Such Review, prepared
by Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel Report”). Attached to the Quinn
Emanuel Report were 128 pages of appendices. Quinn Emanuel “relied upon extensive
documentary information the University provided and information University employees
provided during voluntary interviews,” but noted that “a number of individuals with relevant
information declined to be interviewed.” Specifically, Quinn Emanuel interviewed 11 employees
and asked to interview 22 employees who refused to speak or did not respond. Quinn Emanuel
analyzed over 9,300 documents.

              Quinn Emanuel examined the stated factual and policy bases for the personnel
actions taken against Gupta by Defendants Woodruff, Stanley and the other Defendants in their
Administration and whether such Defendants followed applicable policies and procedures in
imposing the personnel actions against Gupta. Quinn Emanuel concluded that the personnel
actions taken against Gupta that Gupta complains about in this lawsuit, “appear disproportionate,
out of sequence with the underlying investigation, and based on a factual record that included
errors and omissions of relevant information and context.” Quinn Emanuel found that
Defendants’ actions violated MSU policies and by-laws and Gupta’s employment contract.
Quinn Emanuel also found that the Administration’s basis for concluding that Gupta purportedly
violated a reporting policy was factually and legally incorrect. Quinn Emanuel noted that the lack
of cooperation by 22 interviewees, including Defendant Stanley, impeded a full assessment of
the purported reasons for Defendants’ disciplinary actions against Gupta, which is a subject of
this lawsuit.

       (b)       Defendants’ Position: MSU found, after a thorough investigation in which
Plaintiff participated, that Plaintiff, the former Dean of the Eli Broad College of Business of
Michigan State University (“Broad College”), failed to mandatorily report potential sexual
harassment and/or sexual misconduct in violation of MSU policy. Thereafter, it was determined
that Plaintiff should no longer hold his at-will position as Dean of the Broad College. Accordingly,
Plaintiff was provided the opportunity to resign from his at-will administrative position, which he
did. Thereafter, he returned to a tenured faculty position, where he remains. In short, MSU
leadership – including certain Defendants named in the Complaint – concluded that Plaintiff’s
actions fell below MSU’s high standards and no longer supported his at-will appointment as a
MSU dean. Defendants dispute Plaintiff’s characterization of the Quinn Emanuel Report and
Plaintiff’s view of its import to this case. Without waiving any arguments as to the relevancy of
the Report, Defendants note that, among other things, Plaintiff fails to acknowledge that the Report
found that Plaintiff violated MSU’s mandatory reporting policy on Relationship Violence and
Sexual Misconduct.

       Plaintiff’s currently-operative Complaint [ECF No. 1] asserts baseless and flawed
procedural due process violations under 42 U.S.C. § 1983 (Count I), and state common law claims
of defamation (Count IV) and tortious interference with a contract and business relationship
(Counts II and III). Accordingly, on May 22, 2023, Defendants filed their Omnibus Motion to


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Dismiss [ECF Nos. 15 & 16], asking the Court to dismiss Plaintiff’s Complaint in its entirety.

       Contrary to Plaintiff’s stated position above, the operative Complaint does not allege an
equal protection claim or a breach of contract claim.

        5.   Prospects of Settlement:

        (a) Plaintiff’s Position: Prior to commencing this lawsuit, Plaintiff provided written
settlement proposals to the MSU general counsel and has not received a response. On April 20,
2023, Plaintiff provided an additional written settlement proposal to the MSU general counsel who
responded with a suggestion for mediation subject to staying this lawsuit and a refusal to agree to
Plaintiff’s requested relief, which Plaintiff did not believe are reasonable conditions for mediation.
Plaintiff has provided his written proposals to counsel of record in this action and has not received
any offers or response. Plaintiff is willing to discuss any proposal from Defendants as soon as any
offer is provided and is willing to participate in a mediation but believes that mediation will not be
productive in light of Defendants’ pre-conditions to mediation and without certain initial
discovery. Defendants also have stated that they do not have any authority to provide any relief
(injunctive or monetary) requested by Plaintiff. Plaintiff has raised concerns about MSU’s general
counsel’s lack of authority to provide the requested relief and conflicts of interest, including in
light of the Quinn Emanuel Report finding that the Office of General Counsel improperly
interfered with and influenced the outcome of the Office of Institutional Equity’s investigation,
which is supposed to be independent. The initial discovery beneficial for mediation includes initial
disclosures; discovery of the investigative file underlying the Quinn Emanuel Report; and other
written discovery provided by Defendants and/or MSU.

        (b) Defendants’ Position: Contrary to Plaintiff’s stated position above, prior to Plaintiff
bringing this action, MSU’s Office of General Counsel responded to Plaintiff’s settlement
proposals by rejecting them as unreasonable and, instead, proposed that the University and Plaintiff
participate in facilitative mediation. After this action was commenced, Defendants also invited
Plaintiff to engage in facilitative mediation and continue to welcome the opportunity to participate
in that forum. To date, Plaintiff has rejected those invitations, and has stated that he will not
participate in any mediation until after substantial written discovery has been exchanged.
Furthermore, Defendants have informed Plaintiff that, under the University’s Indemnification
Policy, authority to settle rests with the University. Plaintiff has nonetheless insisted that settlement
discussions not include the University’s Office of General Counsel.

        6.   Pendent State Claims:

        (a) Plaintiff’s Position: This case does include pendent state claims, including breach of
Plaintiff’s employment contract, breach of MSU’s policies (which are an implied contract), and
defamation.

        (b) Defendants’ Position: Plaintiff’s operative Complaint [ECF No. 1] includes state
common law claims of defamation and tortious interference with contract and business
relationship. It does not include a breach of employment contract claim or a breach of implied
contract claim.


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       7.    Joinder of Parties and Amendment of Pleadings:

       (a)    Plaintiff’s Position: The parties expect to file all motions for Joinder of parties or
to amend the pleadings by 120 days after the commencement of written discovery. Plaintiff
proposes that written discovery commences on June 14, 2023.

       (b)     Defendants’ Position: Plaintiff has indicated that he intends to amend his Complaint
pursuant to the Court’s May 23, 2023 Order [ECF No. 17] by no later than June 12, 2023. Any
additional amendment by Plaintiff thereafter, including by joining one or more parties, shall require
leave of court pursuant to Fed. R. Civ. P. 15. But no such motion should be granted by the Court
if not filed within 120 days after the commencement of written discovery, if any.

        As stated in their Omnibus Motion to Stay Discovery [ECF Nos. 22 & 23], Defendants’
position is that all discovery and initial disclosures should be stayed temporarily. Until Defendants
and the Court know what claims will be stated in an amended complaint (and against which parties)
and what claims/parties, if any, will survive a dispositive motion filed by Defendants in response
thereto, it is premature to discuss the details of a discovery schedule and process. Defendants
welcome the opportunity to discuss these matters during a Rule 16 Conference with the Court after
everyone knows and understands what claims, if any, will be left to adjudicate, as well as which
parties will be Defendants to this action.

       8.    Disclosures and Exchanges:

       (a)           FED. R. CIV. P. 26(a)(1) requires initial disclosures unless the Court orders
otherwise. The parties propose the following schedule for Rule 26(a)(1) disclosures:

        Plaintiff proposes to exchange initial disclosures on or before June 7, 2023, which is 14
days after the Rule 26(f) conference. Plaintiff is serving his initial disclosures on June 7, 2023,
despite Defendants’ refusal to do so.

       Defendants state that discovery, including the exchange of initial disclosures, is premature
and should be temporarily stayed, as set forth in their Omnibus Motion to Stay Discovery [ECF
Nos. 22 & 23]. Accordingly, after the Court rules on Defendants’ Motion to Stay Discovery and
any motion to dismiss filed in response to Plaintiff’s amended complaint, if there is any remaining
cause of action, Defendants propose that the Court schedule a Rule 16 Conference to finalize a
scheduling order. Defendants state further that any deadline to exchange initial disclosures should
be no earlier than 14 days after the Rule 16 Conference, if required.

       (b)           Expert Witnesses

       Plaintiff expects to be able to furnish the names of Plaintiff’s expert witness(es) by
February 15, 2024.

        Defendants state that discovery is premature and should be temporarily stayed, as set forth
in their Omnibus Motion to Stay Discovery [ECF Nos. 22 & 23]. Accordingly, after the Court


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rules on Defendants’ Motion to Stay Discovery and any motion to dismiss filed in response to
Plaintiff’s amended complaint, if there is any remaining cause of action, Defendants propose that
the Court schedule a Rule 16 Conference to finalize a scheduling order, including appropriate dates
for the naming of expert witnesses. Defendants state further that, as a general matter, they expect
to be able to furnish the name(s) of their expert witness(es) approximately thirty (30) days after
Plaintiff’s deadline to furnish the name(s) of his expert witness(es).

       (c)    The parties agree that it would be advisable in this case to exchange written expert
witness reports as contemplated by FED. R CIV. P 26(a)(2). Reports, if required, should be
exchanged as follows:

               Plaintiff proposes:

               Plaintiff:             April 12, 2024
               Defendants:            May 10, 2024
               Supplementation:       June 7, 2024

        Defendants propose: For the reasons stated above, Defendants propose that the parties
engage in a Rule 16 Conference with the Court to finalize a scheduling order, including as it relates
to the exchange of expert witness reports, after the Court rules on Defendants’ Motion to Stay
Discovery and any motion to dismiss filed in response to Plaintiff’s amended complaint, if there
is any remaining cause of action. Until the parties and the Court fully know and understand the
nature of Plaintiff’s claims in an amended complaint and what claims, if any, might survive a
dispositive motion filed in response to an amended complaint, establishing a detailed schedule for
the exchange of expert witness reports is premature and would be based on uninformed guesswork.

       (d)      Both parties propose that, without a formal production request, and if the Court
so orders, the parties have agreed to make available to each other within thirty (30) days after the
exchange of initial disclosures, all documents identified in their initial disclosures, provided that
an appropriate protective order governing certain confidential information is entered.

       Plaintiff’s Position: On May 26, 2023, Plaintiff provided a proposed protective order to
       Defendants based on the standard form used in many federal courts. Defendants have
       refused to date to provide any comments on that proposed protective order or to agree to
       its entry. Plaintiff has stated that prompt entry of a protect order is necessary to facilitate
       production of documents identified in Plaintiff’s initial disclosures, which Plaintiff is
       serving on June 7, 2023, as proposed, and the production of other documents requested.
       These documents include the documents Plaintiff believes are necessary and appropriate
       for production to facilitate any early resolution of this case.

       Defendants’ Position: Defendants have not refused to provide comments on a proposed
       protective order or refused to agree to an entry. Defendants informed Plaintiff that they
       believe it is inefficient and unnecessary to proceed with these orders at this time as there
       are no pending discovery requests, Defendants have moved for a stay of discovery, Plaintiff
       intends to amend his complaint and may add additional parties (which may involve
       additional counsel in the case), and a motion to dismiss will likely follow.


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       9.   Discovery:

      (a) Plaintiff’s Position: Plaintiff believes that all discovery proceedings can be
completed by March 15, 2024. Plaintiff recommends the following discovery plan:

        The subjects of discovery include the purported reasons for the termination of the positions
and the factual bases therefor; MSU policies for discipline of deans and investigations of alleged
violations of MSU reporting policies and whether Defendants complied with those policies; how
other MSU personnel were disciplined and treated as compared to Plaintiff; whether MSU officials
violated well established due process and equal protection rights of the tenured dean; and whether
publications of statements concerning Plaintiff by Defendants were false and defamatory.

       Plaintiff is willing to conduct discovery in phases as follows:

         1.     Complete initial disclosures and production of documents identified in the
disclosures and subpoena the investigative file of Quinn Emanuel. On March 31, 2023, Quinn
Emanuel issued a 103-page report that the Board of Trustees publicized which disclosed that Quinn
Emanuel collected 9,300 documents and interviewed 11 people in its investigation and that it asked
an additional 22 people to be interviewed who refused to be interviewed. Plaintiff believes that it
is efficient to obtain that investigative file and documents and statements already collected and
then conduct additional written discovery of Defendants and non-parties of relevant documents
that Quinn Emanuel did not or was not able to obtain. Plaintiff proposes that this written discovery
can be substantially completed within four (4) months or by September 15, 2023.

        2.      Because there are 9 parties and because Quinn Emanuel identified 33 potentially
relevant witnesses, including 22 who refused to be interviewed in the investigation of Dr. Gupta’s
termination, Plaintiff believes that the limit on the number of depositions per side should be 35;
that fact depositions should be concluded by March 15, 2024, and expert discovery to be conducted
thereafter and to be concluded by June 28, 2024. Alternatively, Plaintiff is willing to limit
deposition testimony to 140 hours per side, with no single deposition exceeding 7 hours of
testimony without mutual agreement of the parties or an order of the Court.

        3.      The other standard limitations on discovery should apply for the number of
interrogatories and 7 hours of testimony per deposition.

         (b)    Defendants’ Position: Defendants state that discovery, including the exchange of
initial disclosures, is premature and should be temporarily stayed, as set forth in their Omnibus
Motion to Stay Discovery [ECF Nos. 22 & 23]. Accordingly, after the Court rules on Defendants’
Motion to Stay Discovery and any motion to dismiss filed in response to Plaintiff’s amended
complaint, if there is any remaining cause of action, Defendants propose that the Court schedule a
Rule 16 Conference to finalize a scheduling order and to discuss the appropriate scope of, and
potential limits on, discovery, should it be necessary to commence discovery at all. Until the
parties and the Court fully know and understand the nature of Plaintiff’s claims in an amended
complaint and what claims/parties, if any, might survive a dispositive motion filed in response to
an amended complaint, identifying the appropriate scope of, and potential limits on, discovery now


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is premature and would be based on uninformed guesswork.

       10. Disclosure or Discovery of Electronically Stored Information: The parties have
discussed the production of electronically stored information and suggest that such information be
handled as follows:

         (a) Plaintiff’s Position: The parties will submit an agreed-upon ESI protocol, when
appropriate and required at the start of discovery. On May 26, 2023, Plaintiff provided to
Defendants the proposed ESI protocol order, which is a standard form used in federal courts. To
date, Defendants have refused to provide comments on that proposed ESI protocol order or to agree
to its entry. Plaintiff has advised Defendants that Plaintiff has been preserving relevant documents,
including ESI and that Plaintiff has arranged to image personal device data, which should be
complete by June 28, 2023. Defendants have refused to arrange for imaging of any personal device
data, which is necessary to preserve the information on the device.
         .
         (b) Defendants’ Position: The parties will submit an agreed-upon ESI protocol if and
when appropriate and required at the start of discovery. Defendants have not refused to provide
comments on an ESI protocol or refused to agree to an entry. Defendants informed Plaintiff that
they believe it is inefficient and unnecessary to proceed with this order at this time as there are no
pending discovery requests and Defendants have moved for a stay of discovery. It is also
premature prior to the expected amendment of the complaint and resolution of Defendants’
expected motion to dismiss. Defendants have not refused to arrange for the imaging of personal
device data. Counsel for Defendants have informed Plaintiff that they are conferring with their
clients regarding possibility, scope, and mechanics of imaging personal device data. Defendants
note, and have so advised Plaintiff, that they have been subject to and observing a litigation hold
since at least shortly after this litigation was filed. Defendants do not know if/since when Plaintiff
has been adhering to such a hold. While arrangements have purportedly been made, Plaintiff also
has not yet imaged his phone.

       11.    Assertion of Claims of Privilege or Work-Product Immunity After Production:

         The parties agree that claims of privilege or work product will not be waived in the event
of any inadvertent disclosure of such information. The parties agree to resolve any claims of
privilege or work-product immunity in the manner set forth in Fed. R. Civ. P. 26(b)(5). If work
product, attorney client, or trial preparation privileges are asserted and a document is withheld in
its entirety, a privilege log will be contemporaneously prepared. If a document is redacted for
privilege, the redaction shall state on its face the privilege claimed. As needed, the parties agree to
discuss the potential need for a stipulated protective order covering claims of privilege or work-
product and the process where any such information is produced inadvertently in this litigation.
The parties agree that the recipient of such inadvertently protected information will not use the
information, in any way, in the prosecution or defense of the recipient’s case. Further, the parties
agree that the recipient may not assert that the producing party waived privilege or work product
protection; however, the recipient may challenge the assertion of the privilege and seek a court
order denying such privilege. Both parties reserve the right to file a motion for protective order
should they fail to agree to a stipulated order, if any is required, concerning this subject matter.



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        12. Motions: The parties acknowledge that W.D. Mich. LCIVR 7.1(d) requires the
moving party to ascertain whether the motion will be opposed, and in the case of all non-dispositive
motions, counsel or pro se parties involved in the dispute shall confer in a good-faith effort to
resolve the dispute. In addition, all non-dispositive motions shall be accompanied by a separately
filed certificate.

        The following dispositive motions are contemplated by each party: Defendants anticipate
filing motion(s) to dismiss under Rule 12 and motion(s) for summary judgment under Rule 56.

       Plaintiff proposes that all dispositive motions will be filed by July 26, 2024.

        Defendants propose that all dispositive motions be filed by no later than sixty (60) days
after the close of discovery, if any.

        13. Alternative Dispute Resolution: In the interest of conserving judicial resources, the
parties acknowledge that the Court will require the parties to participate in some form of
Alternative Dispute Resolution.

       Plaintiff’s Position: As stated above, Plaintiff is willing to engage in ADR, including
mediation, and Defendants have stated they do not have authority to settle on any basis. Plaintiff
believes that written discovery of the parties and MSU and of Quinn Emanuel are needed prior to
conducting any alternative dispute resolution process. Plaintiff believes that any such ADR process
may be scheduled in September or October 2024, if the relevant documents are provided.

       Defendants’ Position: Defendants disagree with Plaintiff’s position and recommend that
mediation be scheduled immediately or, in the alternative, after the Court’s ruling on any motion
to dismiss an amended complaint but before significant discovery expenses are incurred.

       14.     Length of Trial:

        (a)    Plaintiff’s Position: Counsel estimate the trial will last approximately 14 days total,
allocated as follows: 7 days for Plaintiff’s case and 7 days for Defendant's case.

       (b)     Defendants’ Position: Until the parties and the Court fully know and understand
the nature of Plaintiff’s claims in an amended complaint and what claims/parties, if any, might
survive a dispositive motion filed in response to an amended complaint, identifying the appropriate
amount of time for trial is premature and would be based on uninformed guesswork. Defendants
propose discussing the details of the length of a potential trial at an appropriately scheduled Rule
16 Conference.

        15. Electronic Document Filing System: Counsel are reminded that Local Civil Rule 5
7(a) requires attorneys to file and serve all documents electronically, by means of the Court's
CM/ECF system, unless the attorney has been specifically exempted by the Court for cause or a
particular document is not eligible for electronic filing under the rule. The Court expects all counsel
to abide by the requirements of this rule. Pro se parties (litigants representing themselves without
the assistance of a lawyer) must submit their documents to the Clerk on paper, in a form complying


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 with the requirements of the local rules. Counsel opposing a pro se party must file documents
 electronically but pro se parties with paper documents in the traditional manner.

         16. Other: The parties consent to the electronic service of all documents that require
 service on an opposing party, including but not limited to, written discovery and production of
 discovery materials, if and when discovery is ordered to commence. Such electronic service, if
 utilized, shall be made using the primary e-mail address at which each attorney of record receives
 ECF filings in this case, and any additional email addresses the parties may want to identify by
 written notice to the other attorneys of record. The parties agree that documents served by
 electronic means may be signed by e-signature rather than by hand.

                Plaintiff requests a Rule 16 scheduling conference with the Court. Defendants do
 not object to holding a Rule 16 conference but believe that it would be more efficient to hold a
 Rule 16 conference after the Court has ruled on the pending motion for stay, and after the Court
 has ruled on any motion to dismiss filed in response to Plaintiff’s anticipated amended
 complaint.

 June 7, 2023                  Respectfully submitted,

  /s/ Nancy A. Temple____                       /s/ Steven F. Stapleton (with permission)

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 /s/ Uriel Abt (with permission)
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